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                                             #:19051


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      8                               UNITED STATES DISTRICT COURT
      9                              CENTRAL DISTRICT OF CALIFORNIA
    10                                       WESTERN DIVISION
    11
    12          LUCAS R., et al.,                        Case No. 2:18-CV-05741 DMG PLA
    13                      Plaintiffs,                  DECLARATION OF ALEXANDRA R.
                                                         MAYHUGH IN SUPPORT OF PLAINTIFFS’
    14               v.                                  SUPPLEMENTAL SUBMISSION
    15          ALEX AZAR, et al.,                       Date:      Dec. 11, 2020
    16                      Defendants.                  Time:      3:00 p.m.
                                                         Place:     Courtroom 8C, 8th Floor
    17
    18                                                   Complaint Filed: June 29, 2018
                                                         Judge: Hon. Dolly M. Gee
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                                                                  MAYHUGH DECL. ISO SUPPLEMENTAL SUBMISSION
  COOLEY LLP
ATTORNEYS AT LAW                                                           CASE NO. 2:18-CV-05741 DMG PLA
  LOS ANGELES
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                                                                 CASE NO. 2:18-CV-05741 DMG PLA
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ATTORNEYS AT LAW                                               MAYHUGH DECL. ISO SUPP. SUBMISSION
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                                                                 CASE NO. 2:18-CV-05741 DMG PLA
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      1                 I, Alexandra R. Mayhugh, hereby declare:
      2                 1.    I am an attorney licensed to practice law before the Courts of the State of
      3         California. I am an associate with the law firm Cooley LLP, counsel of record for
      4         Plaintiffs. I submit this declaration in support of Plaintiffs’ Supplemental Submission.
      5         I declare that the following statements are true and to the best of my knowledge,
      6         information, and belief, formed after a reasonable inquiry under the circumstances. If
      7         called upon to testify, I could and would competently testify hereto.
      8                 2.    Attached hereto as Exhibit 204 is a true and correct copy of the hearing
      9         transcript on the Parties’ cross-motions for summary judgment, held on December 22,
    10          2020.
    11                  3.    Attached hereto as Exhibit 205 is a true and correct copy of the document
    12          produced by Defendants at Bates GOV00159749–GOV-00159751.
    13                  4.    Attached hereto as Exhibit 206 is a true and correct copy of the document
    14          produced by Defendants at Bates GOV-00157083–GOV-00157085; GOV-00157088–
    15          GOV-00157090; GOV-00157093–GOV-00157098; GOV-00157101–GOV-157104;
    16          GOV-00157107–GOV-157107;            GOV-00157111–GOV-00157112;              and     GOV-
    17          00157115–GOV-00157126.
    18                  5.    Attached hereto as Exhibit 207 is a true and correct copy of the document
    19          produced by Defendants at Bates GOV-00159489–GOV-00159527.
    20                  6.    Attached hereto as Exhibit 208 is a true and correct copy of the document
    21          produced by Defendants at Bates GOV-00021715.
    22                  7.    Attached hereto as Exhibit 209 is a true and correct copy of the document
    23          produced by Defendants at Bates GOV-00021936–GOV-00021937.
    24                  8.    Attached hereto as Exhibit 210 is a true and correct copy of excerpts of
    25          the Deposition Transcript of Carina Contreras, taken on January 23, 2020
    26                  9.    Attached hereto as Exhibit 211 is a true and correct copy of the document
    27          produced by Defendants at Bates GOV-00241631–GOV-00241661.
    28                  10.   Attached hereto as Exhibit 212 is a true and correct copy of the document
  COOLEY LLP
                                                                          MAYHUGH DECL. ISO SUPP. SUBMISSION
ATTORNEYS AT LAW
  LOS ANGELES                                                1              CASE NO. 2:18-CV-05741 DMG PLA
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      1         produced by Defendants at Bates GOV-00241783–GOV-00241784; GOV-00241787–
      2         GOV-00241788;          GOV-00241793–GOV-00241794;            GOV-00241797–GOV-
      3         00241798; GOV-00241801–GOV-00241802.
      4
      5               I declare under penalty of perjury under the laws of the United States that the
      6         foregoing is true and correct.
      7               Executed on January 8, 2021, in Santa Monica, CA.
      8
      9                                                 Alexandra R. Mayhugh
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  COOLEY LLP                                                           MAYHUGH DECL. ISO SUPP. SUBMISSION
ATTORNEYS AT LAW
  LOS ANGELES
                                                          2              CASE NO. 2:18-CV-05741 DMG PLA
